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LOUISE AFFLIS ,
Plaintiffl

vs. NO. 2:03-CV2714 B[P
BAPTIST MEMORIAL HOSPITAL
d/b/a BAPTIST MEMORIAL
HOSPITAL-COLLIERVILLE,

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Defendant.

 

ORDER DENYING PLAINTIFF’S MOTION TO COMPEL

 

Before the Court is Plaintiff Louise Afflis's Motion to
Compel, filed on May 6, 2005 (dkt #44). Defendant Baptist Memorial
Hospital filed its response on May 23, 2005 (dkt #47). For the
following reasons, the motion is DENIED.

I . BACKGROUND

The Plaintiff seeks an order from this Court compelling the
Defendant to produce a copy of an occurrence report regarding the
Plaintiff's slip-and-fall at the Defendant's Collierville location
on September 19, 2002. The Defendant argues that the document is
protected by attorney-client privilege and the Work product
doctrine. By letter' dated June 3, 2005, and. at the Court’s

request, the Defendant provided the Court with a copy of the two-

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with Hule 58 and,'or 79(a) FHCP on § d OS

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page report for in camera review.
II. ANALYSIS
The fundamental purpose of the attorney-client privilege is to
“encourage full and frank communication between attorneys and their
clients.” Upiohn Co. v. United States, 449 U.S. 383, 389 (1981).

In a diversity case the attorney-client privilege is determined by
reference to state law. The parties do not dispute that the

Tennessee law of attorney-client privilege should be applied in
this case. Union Planters National Bank of Memphis v. ABC Records,
et al., 82 F.R.D. 472, 473 (W.D. Tenn. 1979).

The classic statement of attorney-client privilege is:

The privilege only applies if (l) the asserted holder of
the privilege is or sought to become a client; (2) the
person to whom the communication was made (a) is a member
of the bar of a court, or his subordinate and (b) in
connection with this communication is acting as a lawyer;
(3) the communication relates to a fact of which the
attorney was informed (a) by his client (b) without the
presence of strangers (c) for the purpose of securing
primarily either, (i} an opinion on law, (ii) legal
services, or (iii) assistance in some legal proceeding,
and not (d) for the purpose of committing a crime or
tort; and (4) the privilege has been (a) claimed and (b)
not waived by the client.

Union Planters National Bank of Memphis, 82 F.R.D. at 474; see also
Humphrevsl Hucheson, & Moselev v. Donovan, 568 F.Supp. 161, 175
(M.D. Tenn. 1983).

In certain situations a corporation may assert the attorney-
client privilege. Union Planters National Bank of Memphis, 82

F.R.D. at 474. For the relationship between the person making the

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communication and the corporation itself to bring about the
privilege, the corporation must show:

(l) the communication was made for the purpose of

securing legal advice; (2) the employee making the

communication did so at the direction of his corporate
superior; (3) the superior made the request so that the
corporation could secure legal advice; (4) the subject
matter of the communication is within the scope of the
employee’s corporate duties; and (5) the communication is

not disseminated beyond those persons who, because of the

corporate structure, need to know its contents.

Id. at 475 (quoting Diversified Industries, Inc. v. Meredith, 572
F.Zd 596, 609 (8th Cir. 1977)); see also Uniohn Co. v. United
States, 449 U.S. 383 (1981).

In this case, the Defendant’s communication satisfies both
tests and thus falls within attorney-client privilege. The
Defendant is a client and its attorney was acting as a lawyer when
he received the two page report from his client, without the
presence of strangers, for the purpose of securing legal advice.
The privilege has been claimed and not waived. In addition,
according to the affidavit of Lauren Porter, as the Director of
Risk Management she requested that Michelle Thomas, RN, prepare the
report titled “Confidential Report of Event/Occurrence to BMHCC
Attorney,” in order to provide the hospital's attorney with the
facts surrounding the alleged slip-and-fall for the purpose of
securing legal advice. Ms. Porter also stated in her affidavit

that this report was not disseminated or distributed beyond those

persons who, because of the corporate structure at the hospital,

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needed to know its contents.1
III. CONCLUSION

Accordingly, the Court DENIES the motion to compel.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

 

]Because the communication clearly falls within the
parameters of attorney-client privilege, this Court need not
determine whether the work product doctrine also applies.

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Honorable J. Breen
US DISTRICT COURT

